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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                        Plaintiff,                  Case No. 3: 1O-CR-2l 0 (11)

       - vs-                                        District Judge Walter Herbert Rice
                                                    Magistrate Judge Michael R. Merz
ANDRE LAMAR SMITH,

                        Defendant.




               ORDER ADOPTING REPORT AND RECOMMENDATIONS


               The Court has reviewed the Report and Recommendations of United States

Magistrate Judge Michael R. Merz (Doc. #451), to whom this case was referred pursuant to 28

U.S.C. § 636(b) and Fed. R. Crim. P. 59, and noting that no objections have been filed thereto and

that the time for filing such objections under Fed. R. Civ. P. 59(b)(2) has expired, hereby ADOPTS

said Report and Recommendations.

               It is therefore ORDERED that the Plea Agreement herein and Defendant's plea of

guilty pursuant to that agreement are accepted.




October :2 j   ,2011.

                                                          Walter Herbert Rice
                                                         United States District Judge
